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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 21-cv-22001-BLOOM/Otazo-Reyes

             MIGUEL ALFONSO SARMIENTO
             LOPEZ, as Personal Representative of the
             Estate of MIGUEL ANGEL
             SARMIENTO BENEGAS,

                       Plaintiff,
             v.

             CMI LEISURE MANAGEMENT, INC.
             and CRUISE MANAGEMENT
             INTERNATIONAL, INC., INSTITUTE FOR
             SHIPBOARD EDUCATION and GREACCE KELLY
             ESCOBAR ALFONSO, M.D.,

                       Defendants.
                                                                      /

              DECLARATION IN SUPPORT OF GRACE ESCOBAR, M.D.’S MOTION TO DISMISS
                             FOR LACK OF PERSONAL JURISDICTION

                       I, Grace Escobar, M.D. make this Declaration based upon my own personal knowledge
             and attest to the truth of the facts that are stated herein.
                       1.      I am over twenty-one years of age and in all respects qualified to make this
             Declaration.
                       2.      The matters set forth in this Declaration are true and based on my personal
             knowledge.
                       3.      I am a citizen of Colombia. I am not a citizen of Florida or the United States and
             have not been a citizen of Florida or the United States.
                       4.      I am a permanent resident of Colombia.I have not resided in Florida or in the United
             States.
                       5.      I do not now and have never operated, conducted, engaged in, or carried on a
             business or business venture in the State of Florida.
                       6.      I do not now and have never had an office or agency in the State of Florida.
                       7.      I have never owned, used, possessed, or held a mortgage or other lien on any real
             property in the State of Florida.
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                      8.      I have never contracted to insure any person, property, or risk located within Florida
             at any time.
                      9.      I have never engaged in solicitation or service activities in the State of Florida.
                      10.     I have never had products, materials, or things processed, serviced or manufactured
             by me that were used or consumed within Florida in the ordinary course of commerce, trade or use.
                      11.     I have never breached a contract in the State of Florida by failing to perform acts
             required by any contracts to be performed in the State of Florida.
                      12.     I have never been engaged in any substantial activity within Florida.
                      13.     My only contact with the State of Florida has been either incidental to my work
             onboard cruise ships for connection of flights or personal in nature and occurring in between
             voyages.
                      14.     I am not licensed to practice medicine in the State of Florida, or anywhere else in the
             United States.
                      15.     I have never rented or owned any property in the State of Florida.
                      16.     I do not have a telephone number in the State of Florida.
                      17.     At the time of the alleged illness of Mr. Sarmiento, I was working as the shipboard
             doctor onboard the vessel, M/V World Odyssey.
                      18.     I never provided the decedent, Mr. Miguel Angel Sarmiento Benegas, with any
             medical attention or medical services in the State of Florida or Florida territorial waters.
                      19.     I received a copy of the summons and complaint in this case via e-mail while
             stationed on a ship sailing in Antarctica.
                      20.     While onboard the ship in Antarctica, we had very spotty internet service and very
             little ability to print emails.
                      21.     I had no expectation nor could I forsee that I would be subjected to jurisdiction in
             the State of Florida, or any place in the United States.
                      22.     At no time did I ever perform or do any activities that I would reasonably expect to
             be hailed into the courts of Florida.
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                                                                  Case No. 21-cv-22001-BLOOM/Otazo-Reyes


                      Under the penalties of perjury under the laws of the United States, I declare that I have
             read the foregoing Declaration and the facts stated in it are true and correct.

             Dated: February ___, 2022

                                                                   Signed: _________________________
                                                                             Grace Escobar, M.D.
